	NO. 07-10-0268-CV
	
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL B

	SEPTEMBER 9, 2010
	______________________________

	FRANK GROENTEMAN,

Appellant

	V.

	LISA GROENTEMAN,

Appellee

                       _________________________________

	FROM THE 367th DISTRICT COURT OF DENTON COUNTY;

	NO. 2010-50554-367; HONORABLE E. LEE GABRIEL, PRESIDING
	_______________________________

	ORDER DISMISSING APPEAL
    _______________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
Appellant has filed a motion to dismiss.  Without passing on the merits of the case, we grant the motion pursuant to Texas Rule of Appellate Procedure 42.1(a)(1) and dismiss the appeal.  Having dismissed the appeal at appellants request, no motion for rehearing will be entertained, and our mandate will issue forthwith.


Brian Quinn
       Chief Justice
